       Case 4:19-cv-07123-PJH Document 272-2 Filed 01/26/24 Page 1 of 2




     Greg D. Andres
 1   Antonio J. Perez-Marques
 2   Craig T. Cagney
       (admitted pro hac vice)
 3   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 4   New York, New York 10017
     Telephone: (212) 450-4000
 5
     Facsimile: (212) 701-5800
 6   Email: greg.andres@davispolk.com
              antonio.perez@davispolk.com
 7            craig.cagney@davispolk.com

 8   Micah G. Block (SBN 270712)
     DAVIS POLK & WARDWELL LLP
 9   1600 El Camino Real
     Menlo Park, California 94025
10
     Telephone: (650) 752-2000
11   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
12
     Attorneys for Plaintiffs WhatsApp LLC and
13   Meta Platforms, Inc.
14
                                 UNITED STATES DISTRICT COURT
15
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                        OAKLAND DIVISION
17
     WHATSAPP LLC, and                 )
18   META PLATFORMS INC.,              )         Case No. 4:19-cv-07123-PJH
                                       )
19                                     )         [PROPOSED] ORDER REGARDING
                     Plaintiffs,                 ADMINISTRATIVE MOTION TO
                                       )
20                                     )         CONSIDER WHETHER ANOTHER
            v.                         )         PARTY’S MATERIAL SHOULD BE
21                                     )         FILED UNDER SEAL
     NSO GROUP TECHNOLOGIES LIMITED )
22   and Q CYBER TECHNOLOGIES LIMITED, )         Ctrm: 3
                                       )         Judge: Hon. Phyllis J. Hamilton
23                                     )
                     Defendants.
                                       )
24                                     )         Action Filed: October 29, 2019
                                       )
25

26

27

28
        Case 4:19-cv-07123-PJH Document 272-2 Filed 01/26/24 Page 2 of 2




 1            Having considered the Administrative Motion to Consider Whether Another Party’s Materi-

 2   al Should Be Filed Under Seal (the “Motion”) filed by Plaintiffs WhatsApp LLC and Meta Plat-

 3   forms, Inc. (“Plaintiffs”), the Motion is hereby GRANTED / DENIED.

 4            IT IS HEREBY ORDERED that the following documents will / will not remain sealed, as

 5   follows:

 6      ECF                    Document                       Portion(s)       Reasons for Sealing
 7      No.                                                    to Seal
       272-3      Plaintiffs’ Memorandum of Points &         Portions of   Refers to materials that De-
 8                Authorities in Opposition to Defend-       pages 1-4     fendants designated as “High-
 9                ants’ Motion for Relief from Case                        ly Confidential-Attorney’s
                  Management Schedule                                      Eyes Only” or filed under seal
10

11

12

13

14
     Dated:
15                                                               Honorable Phyllis J. Hamilton
                                                                  United States District Judge
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         1
     [PROPOSED] ORDER REGARDING ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL
     SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
